                                 Case:18-03453-swd                  Doc #:1 Filed: 08/11/18                Page 1 of 58
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Western District of Michigan        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                Chapter 11
                                                             
                                                                                                                           Check if this is an
                                                                 Chapter 12
                                                                Chapter 13
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         James
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          L
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Nuyen
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           7    8    0    3
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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                                 About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):



                                                                                              I have not used any business names or EINs.
4.   Any business names
                                 ✔ I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in      _________________________________________________            _________________________________________________
     the last 8 years            Business name                                                Business name

     Include trade names and
                                 _________________________________________________            _________________________________________________
     doing business as names     Business name                                                Business name



                                 _________________________________________________            _________________________________________________
                                 EIN                                                          EIN

                                 _________________________________________________            _________________________________________________

                                 EIN                                                          EIN



5.   Where you live                                                                           If Debtor 2 lives at a different address:


                                 1508 River Bend Dr Lot 127                                   _________________________________________________
                                 _________________________________________________
                                 Number     Street                                            Number     Street


                                 _________________________________________________            _________________________________________________


                                 Three Rivers                            MI
                                 _________________________________________________
                                                                                   49093      _________________________________________________
                                 City                            State   ZIP Code             City                            State   ZIP Code

                                 St. Joseph County                                            _________________________________________________
                                 _________________________________________________
                                 County                                                       County


                                 If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                 above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                 any notices to you at this mailing address.                  any notices to this mailing address.


                                 _________________________________________________            _________________________________________________
                                 Number     Street                                            Number     Street

                                 _________________________________________________            _________________________________________________
                                 P.O. Box                                                     P.O. Box

                                 _________________________________________________            _________________________________________________
                                 City                            State   ZIP Code             City                            State   ZIP Code




6.   Why you are choosing        Check one:                                                   Check one:

                                                                                              Over the last 180 days before filing this petition, I
     this district to file for   ✔ Over the last 180 days before filing this petition, I
     bankruptcy
                                       have lived in this district longer than in any other      have lived in this district longer than in any other
                                       district.                                                 district.

                                  I have another reason. Explain.                             I have another reason. Explain.
                                       (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)




     Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                 page 2
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 Pa rt 2 :     T e ll t he Court About Y our Ba nk rupt c y Ca se


 7.    The chapter of the             Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
                                      
                                      ✔
                                        Chapter 7
                                       Chapter 11
       under


                                       Chapter 12
                                       Chapter 13

 8.    How you will pay the fee       
                                      ✔
                                        I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                          local court for more details about how you may pay. Typically, if you are paying the fee
                                          yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                          submitting your payment on your behalf, your attorney may pay with a credit card or check
                                          with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the
                                          Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                          By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                          less than 150% of the official poverty line that applies to your family size and you are unable to
                                          pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                          Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for        
                                 ✔ No


                                  Yes.
       bankruptcy within the
       last 8 years?                      District ____________________________________________ When ______________ Case number __________________


                                          District ____________________________________________ When ______________ Case number __________________


                                          District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No

                                        Yes.
       cases pending or being
       filed by a spouse who is
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                Debtor _________________________________________________                    R elationship to you ___________________________

                                District _______________________________________________ When _______________ Case number, if known__________________


                                      
                                       Yes.
11.    Do you rent your               ✔ No.     Go to line 12.
       residence?                               Has your landlord obtained an eviction judgment against you?


                                                   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                    this bankruptcy petition.




       Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor         
                                        ✔ No. Go to Part 4.
                                         Yes. Name and location of business
      of any full- or part-time
      business?
      A sole proprietorship is a
      business you operate as an                 _______________________________________________________________________________________
                                                 Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or             _______________________________________________________________________________________
                                                 Number    Street
      LLC.
      If you have more than one
                                                 _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                          _______________________________________________        _______      __________________________
                                                  City                                                  State        ZIP Code


                                                 Check the appropriate box to describe your business:
                                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                    None of the above


13.   Are you filing under              If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                 can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
                                        
      debtor?
                                        ✔ No.    I am not filing under Chapter 11.

                                         No.
      For a definition of small
      business debtor, see                       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                      the Bankruptcy Code.

                                         Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                 Bankruptcy Code.


Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m e dia t e Att e nt ion


14.   Do you own or have any            
                                        ✔ No
                                         Yes.
      property that poses or is
      alleged to pose a threat                    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                  If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                  Where is the property?




      Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
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Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit             You must check one:                                          You must check one:
      counseling.
                                        
                                        ✔ I received a briefing from an approved credit               I received a briefing from an approved credit
                                           counseling agency within the 180 days before I               counseling agency within the 180 days before I
      The law requires that you            filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      receive a briefing about credit      certificate of completion.                                   certificate of completion.
      counseling before you file for
                                           Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      bankruptcy. You must
                                           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                         I received a briefing from an approved credit               I received a briefing from an approved credit
                                           counseling agency within the 180 days before I               counseling agency within the 180 days before I
      eligible to file.                    filed this bankruptcy petition, but I do not have a          filed this bankruptcy petition, but I do not have a
                                           certificate of completion.                                   certificate of completion.
      If you file anyway, the court
                                           Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                           plan, if any.                                                plan, if any.
      you paid, and your creditors
      can begin collection activities    I certify that I asked for credit counseling                I certify that I asked for credit counseling
      again.                               services from an approved agency, but was                    services from an approved agency, but was
                                           unable to obtain those services during the 7                 unable to obtain those services during the 7
                                           days after I made my request, and exigent                    days after I made my request, and exigent
                                           circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                           of the requirement.                                          of the requirement.
                                           To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                           requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                           what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                           you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                           bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                           required you to file this case.                              required you to file this case.
                                           Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                           dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                           If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                           still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                           You must file a certificate from the approved                You must file a certificate from the approved
                                           agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                           developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                           may be dismissed.                                            may be dismissed.
                                           Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                           days.                                                        days.

                                         I am not required to receive a briefing about               I am not required to receive a briefing about
                                           credit counseling because of:                                credit counseling because of:

                                            Incapacity.      I have a mental illness or a mental        Incapacity.      I have a mental illness or a mental
                                                              deficiency that makes me                                     deficiency that makes me
                                                              incapable of realizing or making                             incapable of realizing or making
                                                              rational decisions about finances.                           rational decisions about finances.
                                            Disability.      My physical disability causes me           Disability.      My physical disability causes me
                                                              to be unable to participate in a                             to be unable to participate in a
                                                              briefing in person, by phone, or                             briefing in person, by phone, or
                                                              through the internet, even after I                           through the internet, even after I
                                                              reasonably tried to do so.                                   reasonably tried to do so.
                                            Active duty.     I am currently on active military          Active duty.     I am currently on active military
                                                              duty in a military combat zone.                              duty in a military combat zone.
                                           If you believe you are not required to receive a             If you believe you are not required to receive a
                                           briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                           motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




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Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                      16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                as “incurred by an individual primarily for a personal, family, or household purpose.”
                                           
      you have?
                                           ✔
                                           
                                               No. Go to line 16b.
                                               Yes. Go to line 17.

                                      16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                           
                                           
                                               No. Go to line 16c.
                                           ✔   Yes. Go to line 17.

                                      16c. State the type of debts you owe that are not consumer debts or business debts.
                                           _______________________________________________________________


                                       No.
17.   Are you filing under
      Chapter 7?                               I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
                                         administrative expenses are paid that funds will be available to distribute to unsecured creditors?
                                          No
      any exempt property is
      excluded and                       ✔
                                          Yes
      administrative expenses
      are paid that funds will be
      available for distribution
      to unsecured creditors?

                                                                               1,000-5,000                             25,001-50,000
                                       50-99                                   5,001-10,000                            50,001-100,000
18.   How many creditors do           ✔ 1-49

                                       100-199                                 10,001-25,000                           More than 100,000
      you estimate that you
      owe?
                                       200-999
                                       $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
                                       $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
19.   How much do you

                                                                               $50,000,001-$100 million                $10,000,000,001-$50 billion
      estimate your assets to
      be worth?
                                       $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
                                      ✔ $100,001-$500,000


                                       $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
                                       $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
20.   How much do you

                                       $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
      estimate your liabilities
      to be?
                                      
                                      ✔ $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
Pa rt 7 :      Sign Be low

                                      I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                               correct.
                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                      of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                      under Chapter 7.
                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                      this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                      with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.



                                       /s/ James L Nuyen                                            _____________________________
                                      18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                         ______________________________________________
                                         Signature of Debtor 1                                           Signature of Debtor 2

                                         Executed on _________________                                   Executed on __________________
                                                        MM    / DD    / YYYY                                            MM / DD     / YYYY




            Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                    page 6
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                                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one              available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no



                                _________________________________
If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.           /s/ Benjamin White                                                Date          _________________
                                   Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                     Benjamin White
                                   _________________________________________________________________________________________________
                                   Printed name

                                     White Law Firm, PLC
                                   _________________________________________________________________________________________________
                                   Firm name

                                    833 Kenmoor Ave. SE
                                   _________________________________________________________________________________________________
                                   Number Street

                                    Suite E
                                   _________________________________________________________________________________________________

                                    Grand Rapids                                                    MI            49546
                                   ______________________________________________________ ____________ ______________________________
                                   City                                                    State        ZIP Code




                                   Contact phone (616)  920-1932
                                                  ______________________________        Email address
                                                                                                        ben@whitelawplc.com
                                                                                                        _________________________________________



                                    P72218                                                          MI
                                   ______________________________________________________ ____________
                                   Bar number                                              State




       Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                      page 7
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                                               Certificate Number: 00134-MIW-CC-031454802


                                                              00134-MIW-CC-031454802




                    CERTIFICATE OF COUNSELING

I CERTIFY that on August 10, 2018, at 2:19 o'clock PM EDT, James Lee Nuyen
received from Cricket Debt Counseling, an agency approved pursuant to 11
U.S.C. § 111 to provide credit counseling in the Western District of Michigan, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by telephone.




Date:   August 10, 2018                        By:      /s/Elizabeth Venegas


                                               Name: Elizabeth Venegas


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
                                     Case:18-03453-swd                            Doc #:1 Filed: 08/11/18                               Page 9 of 58


 Fill in this information to identify your case:

 Debtor 1
                     James L Nuyen
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Western District of Michigan District of __________

                                                                                                                                                                           Check if this is an
                                                                                                (State)
 Case number         ___________________________________________
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 42,500.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 115,185.12
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 157,685.12
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 39,294.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 350,000.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 156,632.93
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 545,926.93
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 3,080.85
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 3,115.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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                  James L Nuyen
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                   350,000.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                             350,000.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                              Case:18-03453-swd
Fill in this information to identify your case and this filing:         Doc #:1 Filed: 08/11/18                 Page 11 of 58

Debtor 1
                    James L Nuyen
                  __________________________________________________________________
                    First Name               Middle Name                 Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                 Last Name


                                        ______________________
United States Bankruptcy Court for the: Western District of Michigan District of __________
                                                                                     (State)


                                                                                                                                           Check if this is an
Case number         ___________________________________________

                                                                                                                                               amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                                12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    
         No. Go to Part 2.
    ✔    Yes. Where is the property?
                                                                  
                                                                  What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put


                                                                  
                                                                       Single-family home                            the amount of any secured claims on Schedule D:
      1.1. 1508    River Bend Dr., Lot 27                                                                            Creditors Who Have Claims Secured by Property:

                                                                  
           _________________________________________                   Duplex or multi-unit building
           Street address, if available, or other description

                                                                  
                                                                       Condominium or cooperative                    Current value of the Current value of the

                                                                  
                                                                  ✔    Manufactured or mobile home                   entire property?     portion you own?
             _________________________________________

                                                                  
                                                                       Land                                           5,000.00
                                                                                                                     $________________   2,500.00
                                                                                                                                       $_________________

                                                                  
                                                                       Investment property
             Three  Rivers            MI     49093
             _________________________________________                                                               Describe the nature of your ownership

                                                                  
                                                                       Timeshare                                     interest (such as fee simple, tenancy by
             City                         State     ZIP Code
                                                                       Other __________________________________      the entireties, or a life estate), if known.
                                                                                                                     Fee  simple
                                                                                                                     Check if this is community property
                                                                  Who has an interest in the property? Check one.    __________________________________________

                                                                   Debtor 1 only
                                                                   Debtor 2 only
            St. Joseph County
            _________________________________________

                                                                   Debtor 1 and Debtor 2 only
             County


                                                                  
                                                                  ✔ At least one of the debtors and another

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:




                                                                 
    If you own or have more than one, list here:                 What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put
                                                                 ✔

                                                                 
                                                                      Single-family home                             the amount of any secured claims on Schedule D:
      1.2. 432   Sixth Ave                                                                                           Creditors Who Have Claims Secured by Property.

                                                                 
            ________________________________________                  Duplex or multi-unit building
            Street address, if available, or other description

                                                                 
                                                                     Condominium or cooperative                      Current value of the     Current value of the

                                                                 
                                                                      Manufactured or mobile home                    entire property?         portion you own?
             ________________________________________

                                                                 
                                                                      Land                                             40,000.00
                                                                                                                     $________________          40,000.00
                                                                                                                                              $_________________

                                                                 
                                                                      Investment property
            Three  Rivers            MI      49093
             ________________________________________

                                                                 
                                                                      Timeshare                                      Describe the nature of your ownership
             City                         State     ZIP Code
                                                                      Other __________________________________       interest (such as fee simple, tenancy by
                                                                                                                     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                 
                                                                                                                    Fee  simple
                                                                                                                     __________________________________________

                                                                  Debtor 2 only
                                                                 ✔ Debtor 1 only
            St. Joseph County
             ________________________________________

                                                                  Debtor 1 and Debtor 2 only                        Check if this is community property
             County


                                                                  At least one of the debtors and another              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




                                                                                                                                                   page 1 of ___
                                                                                                                                                              10
                                 Case:18-03453-swd                     Doc #:1 Filed: 08/11/18                    Page 12 of 58




                                                                 
1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put


                                                                 
                                                                     Single-family home                                   the amount of any secured claims on Schedule D:
            ________________________________________                                                                      Creditors Who Have Claims Secured by Property.

                                                                 
            Street address, if available, or other description       Duplex or multi-unit building
                                                                                                                          Current value of the      Current value of the
                                                                 
                                                                     Condominium or cooperative
                                                                                                                          entire property?          portion you own?

                                                                 
            ________________________________________                 Manufactured or mobile home
                                                                                                                          $________________         $_________________
                                                                 
                                                                     Land


                                                                 
            ________________________________________
                                                                     Investment property
                                                                                                                          Describe the nature of your ownership

                                                                 
            City                    State   ZIP Code                 Timeshare
                                                                                                                          interest (such as fee simple, tenancy by
                                                                     Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
                                                                  Debtor 1 only
                                                                  Debtor 2 only
            ________________________________________


                                                                                                                           Check if this is community property
            County

                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another                    (see instructions)
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  42,500.00
   you have attached for Part 1. Write that number here. ...................................................................................... 
                                                                                                                                                    $_________________



Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   
   
         No
   ✔     Yes

                   Ford                                          Who has an interest in the property? Check one.
                                                                 
    3.1.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                  Debtor 2 only
                    Escape
            Model: ____________________________
                                                                 ✔ Debtor 1 only
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                  Debtor 1 and Debtor 2 only
            Year:                  2010
                                  ____________                                                                            Current value of the      Current value of the
                                                                  At least one of the debtors and another
            Approximate mileage: ____________                                                                             entire property?          portion you own?


                                                                  Check if this is community property (see
         Other information:
   Condition:
                                                                                                                           6,000.00
                                                                                                                          $________________          6,000.00
                                                                                                                                                    $________________
                                                                     instructions)



   If you own or have more than one, describe here:
                   Ford                                          Who has an interest in the property? Check one.
                                                                 
    3.2.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                  Debtor 2 only
                                                                 ✔ Debtor 1 only
                    Lgt Convtnl F pick up
            Model: ____________________________                                                                           Creditors Who Have Claims Secured by Property.

                                                                  Debtor 1 and Debtor 2 only
            Year:                  2010
                                  ____________                                                                            Current value of the      Current value of the

                                                                  At least one of the debtors and another
                                                                                                                          entire property?          portion you own?
            Approximate mileage: ____________


                                                                  Check if this is community property (see
         Other information:
   Condition:
                                                                                                                           17,000.00
                                                                                                                          $________________          17,000.00
                                                                                                                                                    $________________
                                                                     instructions)




                                                                                                                                                                   10
                                                                                                                                                              2 of __
                                                                                                                                                         page ___
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                      Dodge                                                   Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                      ____________________________                                                                                                      Do not deduct secured claims or exemptions. Put
  ____.
  3.3      Make:
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: Caravan
                  ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                            2007
                                            ____________                                                                                                Current value of the             Current value of the
                                                                               At least one of the debtors and another
           Approximate mileage: ____________                                                                                                            entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
           Condition:
                                                                                                                                                         100.00
                                                                                                                                                        $________________                 100.00
                                                                                                                                                                                         $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                                                                                                                                                        Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________                                                                                                           the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                             ____________                                                                                               Current value of the             Current value of the
                                                                               At least one of the debtors and another
           Approximate mileage: ____________                                                                                                            entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
                                                                                                                                                        $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   
        No
   ✔    Yes


                   Snowbear                                                  Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.1.     Make:   ____________________________                                                                                                        Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
                                                                              ✔
            Model: utility trailer
                    ____________________________                                                                                                        Creditors Who Have Claims Secured by Property.


                                                                              Debtor 1 and Debtor 2 only
            Year:        2007
                        ____________

                                                                              At least one of the debtors and another
                                                                                                                                                        Current value of the             Current value of the
            Other information:                                                                                                                          entire property?                 portion you own?
            Condition: ; Mileage:
                                                                               Check if this is community property (see                                 100.00
                                                                                                                                                        $________________                 100.00
                                                                                                                                                                                         $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.2.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
            Model: ____________________________                                                                                                         Creditors Who Have Claims Secured by Property.

                                                                              Debtor 1 and Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the

                                                                              At least one of the debtors and another
                                                                                                                                                        entire property?                 portion you own?
            Other information:


                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




   you have attached for Part 2. Write that number here ............................................................................................................................
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      23,200.00
                                                                                                                                                                                        $_________________




                                                                                                                                                                                                   3      10
                                                                                                                                                                                              page ___ of __
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Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.


    No
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Household goods and furnishings,

   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      4,000.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music

    No
             collections; electronic devices including cell phones, cameras, media players, games

   
                            Television, laptop, cell phone, misc small electronic items
   ✔ Yes. Describe. ........                                                                                                                                                                          500.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;

   
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

    Yes. Describe. .........
   ✔ No
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   
   ✔    No
        Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

10. Firearms


   
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment

    Yes. Describe. .........
   ✔ No
                                                                                                                                                                                                     0.00
                                                                                                                                                                                                    $___________________

11. Clothes


    No
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

   
                          Everyday clothing items, outerwear and footwear
   ✔    Yes. Describe. .........                                                                                                                                                                      300.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   
   ✔    No
        Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   
   ✔    No
        Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   
   ✔    No
        Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............


   for Part 3. Write that number here ........................................................................................................................................................ 
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        4,800.00
                                                                                                                                                                                                    $______________________



                                                                                                                                                                                                                    4      10
                                                                                                                                                                                                               page ___ of __
                                              Case:18-03453-swd                                             Doc #:1 Filed: 08/11/18                                                Page 15 of 58



Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   
       No
   ✔   Yes .....................................................................................................................................................................     Cash: .......................      50.00
                                                                                                                                                                                                                      $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   
   
       No
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 Fifth Third Bank                                                                     1,500.00
                                                 ___________________________________________________________________________________ $__________________
                                                 PNC Bank (ARS business checking)                                                     0.00
   17.2. Checking account:                       ___________________________________________________________________________________ $__________________
                                                 Kalsee Credit Union                                                                  1,000.00
   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        Fifth Third Bank
                                                 ___________________________________________________________________________________  1,000.00
                                                                                                                                     $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                                 $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                  PNC Bank (ARS general account)                                                                                                                                                       0.00
                                                                                                                                                                                                                      $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                  PNC Bank (...........8784)                                                                                                                                                           34.12
                                                                                                                                                                                                                      $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                      $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                      $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   
   ✔   No
       Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                      $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                      $__________________
                                                                                                                                                                                                                      $__________________
   ___________________________________________________________________________________________________________________                                                                                                $__________________
                                                                                                                                                                                                                      $__________________
   ___________________________________________________________________________________________________________________                                                                                                $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in


    No
   an LLC, partnership, and joint venture

   
   ✔ Yes. Give specific
       information about                                                                                                                                                                                              $__________________
       them. ........................
                                                                                                                                                                                                                      $__________________
  Name of entity:                                                                                                                                                                           % of ownership:
                                                                                                                                                                                                                      $__________________
                                                                                                                                                                                                                      $__________________
                                                                                                                                                                                                                       1.00
   Assisted Residential Services LLC
  _____________________________________________________________________________________________________                                                                                         49
                                                                                                                                                                                                ___________%
                                                                                                                                                                                                                      $__________________
  _____________________________________________________________________________________________________                                                                                         ___________%

  _____________________________________________________________________________________________________                                                                                         ___________%          $__________________


                                                                                                                                                                                                                                           10
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                                                                                                                                                                                                                                 page ___
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.

    
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


     Yes. Give specific
    ✔ No



         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
   
   ✔ Yes. List each

         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           Interkal 401k (John Hancock)
                                   _________________________________________________________________________________________________
                                                                                                                                           83,000.00
                                                                                                                                       $__________________
                                                                                                                                       $__________________
 Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 IRA:                              Roth IRA
                                   _________________________________________________________________________________________________   600.00
                                                                                                                                     $__________________
                                                                                                                                     $__________________
 Retirement account:               _________________________________________________________________________________________________   $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    
    ✔    No
        Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
                                                                                                                                                          10
                                                                                                                                                    6 of __
                                                                                                                                       $__________________
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   
   ✔   No
       Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔

   
       No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔

   
       No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   
   ✔   No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   
   ✔   No
       Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   
   ✔   No
       Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   
   ✔   No
       Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



                                                                                                                                                                       7     10
                                                                                                                                                                 page ___ of __
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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   
   ✔    No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive

   
   property because someone has died.


   
   ✔    No
        Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   
   ✔    No
        Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights


   
   to set off claims


   
   ✔    No
        Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   
   ✔    No
        Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________




   for Part 4. Write that number here ........................................................................................................................................................ 
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                      87,185.12
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .



   
37. Do you own or have any legal or equitable interest in any business-related property?


   
   ✔    No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

   
   
        No
        Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies


   
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices


   
        No
        Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
                                                                                                                                                                                                                    8 of __
                                                                                                                                                                                                               page ___
                                           Case:18-03453-swd                                   Doc #:1 Filed: 08/11/18                                        Page 19 of 58



40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   
        No
        Yes. Describe .......
                                                                                                                                                                                                   $_____________________




   
41. Inventory


   
        No
        Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

   
   
        No
        Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________



   
43. Customer lists, mailing lists, or other compilations


   
        No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                
                      No
                      Yes. Describe.........
                                                                                                                                                                                                   $____________________



   
44. Any business-related property you did not already list


   
        No
        Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________


   for Part 5. Write that number here ........................................................................................................................................................ 
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.



   
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?


   
   ✔    No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   
        No
        Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
                                                                                                                                                                                                                   9 of __
                                                                                                                                                                                                              page ___
                                              Case:18-03453-swd                                      Doc #:1 Filed: 08/11/18                                         Page 20 of 58


48. Crops—either growing or harvested

     
     
           No
           Yes. Give specific
           information. ............                                                                                                                                                                           $___________________


     
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade


     
           No
           Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     
           No
           Yes ...........................
                                                                                                                                                                                                               $___________________



     
51. Any farm- and commercial fishing-related property you did not already list


     
           No
           Yes. Give specific
           information. ............                                                                                                                                                                           $___________________


     for Part 6. Write that number here ........................................................................................................................................................ 
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________




Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     
     ✔     No
           Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                42,500.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    23,200.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               4,800.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           87,185.12
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
                                                                                                                                       Copy personal property total 
62. Total personal property. Add lines 56 through 61. ...................                                             115,185.12
                                                                                                                     $________________                                                                            115,185.12
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       157,685.12
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
                                  Case:18-03453-swd                   Doc #:1 Filed: 08/11/18                          Page 21 of 58

 Fill in this information to identify your case:

                     James L Nuyen
 Debtor 1          __________________________________________________________________
                     First Name                Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Western District of Michigan District of __________

                                                                                                                                                     Check if this is an
                                                                                      (State)
 Case number         ___________________________________________
  (If known)
                                                                                                                                                        amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                              4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.
     
                                                                                     11 U.S.C. § 522(b)(3)
     ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on         Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                 portion you own                           exemption you claim

                                                             Copy the value from                       Check only one box
                                                             Schedule A/B                              for each exemption


                                                                                                
                 1508 River Bend Dr., Lot 27                                                                                          11 U.S.C. § 522 (d)(5)
 Brief                                                               2,500.00
                                                                    $________________           ✔ $ ____________
                                                                                                    2,500.00
                                                                                                  100% of fair market value, up to
 description:

 Line from                                                                                           any applicable statutory limit
 Schedule A/B:        1.1


                                                                                                 $ ____________
                 432 Sixth Ave                                                                                                        11 USC § 522(d)(1)
 Brief
                                                                    $________________
                                                                      40,000.00                     17,746.00
                                                                                                  100% of fair market value, up to
                                                                                                 ✔
 description:
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:         1.2

                                                                                                
                 2010 Ford Escape                                                                                                     11 U.S.C. § 522 (d)(5)
 Brief
                                                                    $________________
                                                                      6,000.00                  ✔ $ ____________
                                                                                                    2,225.00
                                                                                                  100% of fair market value, up to
 description:

 Line from                                                                                           any applicable statutory limit
 Schedule A/B:           3.1

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     
     ✔     No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          
          
                  No
                  Yes



Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                                3
                                                                                                                                                               page 1 of __
                         Case:18-03453-swd                                Doc #:1 Filed: 08/11/18                  Page 22 of 58
Debtor           James L Nuyen
                _______________________________________________________                                Case number (if known)_____________________________________
                First Name      Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                   Amount of the                        Specific laws that allow exemption
                                                                          Current value of the   exemption you claim
         on Schedule A/B that lists this property                         portion you own
                                                                         Copy the value from    Check only one box
                                                                          Schedule A/B           for each exemption
               2010 Ford Escape

                                                                                                 
                                                                                                                                       11 USC § 522(d)(2)
Brief                                                                      6,000.00
                                                                          $________________          3,775.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
description:
Line from                                                                                            any applicable statutory limit
Schedule A/B:        3.1


                                                                                                 
               2007 Dodge Caravan                                                                                                      11 U.S.C. § 522 (d)(5)
Brief
                                                                          $________________
                                                                           100.00                ✔ $ ____________
                                                                                                     100.00
                                                                                                  100% of fair market value, up to
description:

                                                                                                     any applicable statutory limit
Line from
Schedule A/B:        3.3


                                                                                                 
               2007 Snowbear utility trailer                                                                                           11 USC § 522(d)(5)
Brief
                                                                          $________________
                                                                           100.00                ✔ $ ____________
                                                                                                     100.00
                                                                                                  100% of fair market value, up to
description:

Line from                                                                                            any applicable statutory limit
Schedule A/B:        4.1


                                                                                                 
               Household goods - Household goods and furnishings,                                                                      11 USC § 522(d)(3)
Brief
description:                                                              $________________
                                                                           4,000.00              ✔ $ ____________
                                                                                                     4,000.00
                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:          6


                                                                                                 
               Electronics - Television, laptop, cell phone, misc small                                                                11 USC § 522(d)(3)
Brief          electronic items
description:                                                              $________________
                                                                           500.00                    500.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:         7


                                                                                                 
               Clothing - Everyday clothing items, outerwear and                                                                       11 USC § 522(d)(3)
Brief          footwear                                                    300.00
                                                                          $________________          300.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
description:

Line from                                                                                            any applicable statutory limit
Schedule A/B:         11


                                                                                                 
               Cash (Cash On Hand)                                                                                                     11 USC § 522(d)(5)
Brief                                                                      50.00                     50.00
                                                                          $________________      ✔ $ ____________

                                                                                                  100% of fair market value, up to
description:
Line from                                                                                            any applicable statutory limit
Schedule A/B:          16


                                                                                                 
               Fifth Third Bank (Checking)                                                                                             11 U.S.C. § 522 (d)(5)
Brief
                                                                          $________________
                                                                           1,500.00              ✔ $ ____________
                                                                                                     1,500.00
                                                                                                  100% of fair market value, up to
description:

                                                                                                     any applicable statutory limit
Line from
Schedule A/B:         17.1


                                                                                                  $ ____________
               Kalsee Credit Union (Savings)                                                                                           11 U.S.C. § 522 (d)(5)
Brief                                                                      1,000.00                  1,000.00
                                                                          $________________      ✔

                                                                                                  100% of fair market value, up to
description:

Line from                                                                                            any applicable statutory limit
Schedule A/B:          17.3


                                                                                                  $ ____________
               Fifth Third Bank (Savings)                                                                                              11 U.S.C. § 522 (d)(5)
Brief                                                                      1,000.00
                                                                          $________________      ✔   1,000.00
                                                                                                  100% of fair market value, up to
description:
Line from                                                                                            any applicable statutory limit
Schedule A/B:        17.4


                                                                                                 
               PNC Bank (...........8784) (Checking)                                                                                   11 USC § 522(d)(5)
Brief
                                                                          $________________
                                                                           34.12                 ✔ $ ____________
                                                                                                     34.12
                                                                                                  100% of fair market value, up to
description:
                                                                                                     any applicable statutory limit
Line from
Schedule A/B:         17.7


                                                                                                 
               Assisted Residential Services LLC                                                                                       11 USC § 522(d)(5)
Brief                                                                      1.00
                                                                          $________________          1.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
description:

Line from                                                                                            any applicable statutory limit
Schedule A/B:           19


 Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                       2   3
                                                                                                                                                        page ___ of __
                         Case:18-03453-swd                    Doc #:1 Filed: 08/11/18                  Page 23 of 58
Debtor           James L Nuyen
                _______________________________________________________                    Case number (if known)_____________________________________
                First Name     Middle Name      Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                        Amount of the                       Specific laws that allow exemption
                                                               Current value of the   exemption you claim
         on Schedule A/B that lists this property              portion you own
                                                              Copy the value from    Check only one box
                                                               Schedule A/B           for each exemption
               Interkal 401k (John Hancock)

                                                                                      
                                                                                                                           11 USC § 522(d)(12)
Brief                                                            83,000.00
                                                                $________________         83,000.00
                                                                                      ✔ $ ____________

                                                                                       100% of fair market value, up to
description:
Line from                                                                                any applicable statutory limit
Schedule A/B:         21


                                                                                      
               Roth IRA                                                                                                    11 USC § 522(d)(12)
Brief
                                                                $________________
                                                                 600.00               ✔ $ ____________
                                                                                          600.00
                                                                                       100% of fair market value, up to
description:

                                                                                         any applicable statutory limit
Line from
Schedule A/B:           21


                                                                                       $ ____________
Brief
                                                                $________________
                                                                                       100% of fair market value, up to
description:

Line from                                                                                any applicable statutory limit
Schedule A/B:

                                                                                       $ ____________
Brief
description:                                                    $________________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:

                                                                                       $ ____________
Brief
description:                                                    $________________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:

                                                                                       $ ____________
Brief
                                                                $________________
                                                                                       100% of fair market value, up to
description:

Line from                                                                                any applicable statutory limit
Schedule A/B:

                                                                                       $ ____________
Brief
                                                                $________________
                                                                                       100% of fair market value, up to
description:
Line from                                                                                any applicable statutory limit
Schedule A/B:

                                                                                       $ ____________
Brief
                                                                $________________
                                                                                       100% of fair market value, up to
description:

                                                                                         any applicable statutory limit
Line from
Schedule A/B:

                                                                                       $ ____________
Brief
                                                                $________________
                                                                                       100% of fair market value, up to
description:

Line from                                                                                any applicable statutory limit
Schedule A/B:

                                                                                       $ ____________
Brief
                                                                $________________
                                                                                       100% of fair market value, up to
description:
Line from                                                                                any applicable statutory limit
Schedule A/B:

                                                                                       $ ____________
Brief
                                                                $________________
                                                                                       100% of fair market value, up to
description:
                                                                                         any applicable statutory limit
Line from
Schedule A/B:

                                                                                       $ ____________
Brief
                                                                $________________
                                                                                       100% of fair market value, up to
description:

Line from                                                                                any applicable statutory limit
Schedule A/B:


 Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                               3     3
                                                                                                                                          page ___ of __
                                   Case:18-03453-swd                           Doc #:1 Filed: 08/11/18                      Page 24 of 58

 Fill in this information to identify your case:

                    James L Nuyen
 Debtor 1          __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: Western District of Michigan District of __________
                                                                                           (State)

                                                                                                                                                        Check if this is an
 Case number         ___________________________________________
 (If known)
                                                                                                                                                           amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).



    
1. Do any creditors have claims secured by your property?


    
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    ✔       Yes. Fill in all of the information below.


Pa rt 1 :       List All Se c ure d Cla im s
                                                                                                                           Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                   claim                 If any

2.1 Ally Financial                                         Describe the property that secures the claim:                   $_________________
                                                                                                                             17,040.00        $________________
                                                                                                                                                 17,000.00      $____________
                                                                                                                                                                  40.00
     ______________________________________                2010 Ford Lgt Convtnl F pick up - $17,000.00
     Creditor’s Name
      200 Renaissance Ctr
     ______________________________________
     Number            Street

     ______________________________________                As of the date you file, the claim is: Check all that apply.
                                                           
                                                           
      Detroit               MI   48243                          Contingent
     ______________________________________

                                                           
     City                          State   ZIP Code             Unliquidated
  Who owes the debt? Check one.                                 Disputed
  ✔

  
        Debtor 1 only                                      Nature of lien. Check all that apply.
                                                           
  
        Debtor 2 only                                      ✔    An agreement you made (such as mortgage or secured

  
        Debtor 1 and Debtor 2 only
                                                           
                                                                car loan)
        At least one of the debtors and another
                                                           
                                                                Statutory lien (such as tax lien, mechanic’s lien)

  
                                                           
                                                                Judgment lien from a lawsuit
     Check if this claim relates to a
     community debt                                             Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number
2.2 Nationstar/Mr Cooper                                   Describe the property that secures the claim:                   $_________________
                                                                                                                             22,254.00        $________________
                                                                                                                                                 40,000.00      $____________
                                                                                                                                                                  0.00
     ______________________________________                432 Sixth Ave - $40,000.00
     Creditor’s Name
     350 Highland Dr
     ______________________________________
     Number            Street

     ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
      Lewisville            TX             75067           
                                                           
     ______________________________________                     Contingent
     City                          State   ZIP Code

                                                           
                                                                Unliquidated
  Who owes the debt? Check one.                                 Disputed
  
  
        Debtor 1 only                                      Nature of lien. Check all that apply.
                                                           
  
        Debtor 2 only
                                                                An agreement you made (such as mortgage or secured

  
        Debtor 1 and Debtor 2 only
                                                           
                                                                car loan)
        At least one of the debtors and another
                                                           
                                                                Statutory lien (such as tax lien, mechanic’s lien)

  
                                                           
     Check if this claim relates to a                           Judgment lien from a lawsuit
     community debt                                             Other (including a right to offset) ____________________
                            2004
  Date debt was incurred ____________                      Last 4 digits of account number           4081
       Add the dollar value of your entries in Column A on this page. Write that number here:                              $_________________
                                                                                                                             39,294.00

   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of ___
                                                                                                                                                                        1
                             Case:18-03453-swd                  Doc #:1 Filed: 08/11/18                   Page 25 of 58
              James L Nuyen
Debtor 1       _______________________________________________________                          Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code


  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___
                                                                                                                                                   1 of ___
                                                                                                                                                        1
                                         Case:18-03453-swd                   Doc #:1 Filed: 08/11/18                        Page 26 of 58
  Fill in this information to identify your case:

                           James L Nuyen
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name              Last Name




                                                                                                                                                        Check if this is an
      United States Bankruptcy Court for the: ______________________
                                              Western District of Michigan District of __________
                                                                                             (State)
      Case number         ___________________________________________
      (If known)                                                                                                                                           amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who H a ve U nse c ure d Cla im s                                                                                                       12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :            List All of Y our PRIORI T Y Unse c ure d Cla im s


          No. Go to Part 2.
 1. Do any creditors have priority unsecured claims against you?


         
         ✔ Yes.

 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim   Priority     Nonpriority
                                                                                                                                                      amount       amount
            Internal Revenue Service
2.1                                                                                                                                  350,000.00 $___________
                                                                                                                                                  0.00        350,000.00
                                                                        Last 4 digits of account number      2731                  $_____________            $____________
           ____________________________________________
           Priority Creditor’s Name
            3251 North Evergreen Drive NE                               When was the debt incurred?          2012,  2013
                                                                                                             ____________
           ____________________________________________
           Number            Street
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.
           Grand Rapids             MI      49525                       
                                                                        
           ____________________________________________                     Contingent
           City                                 State    ZIP Code

                                                                        
                                                                            Unliquidated

           
           Who incurred the debt? Check one.                            ✔   Disputed

           
           ✔      Debtor 1 only                                         Type of PRIORITY unsecured claim:
                                                                        
           
                  Debtor 2 only                                             Domestic support obligations
                                                                        
           
                  Debtor 1 and Debtor 2 only                            ✔   Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                        
           
                                                                            Claims for death or personal injury while you were
                                                                            intoxicated
                                                                        
                  Check if this claim is for a community debt
                                                                            Other. Specify
           Is the claim subject to offset?
           
           
            ✔ No

                  Yes
             State of Michigan
2.2
                                                                        Last 4 digits of account number                                 Unknown $___________
                                                                                                                                       $_____________ Unknown $____________
                                                                                                                                                               Unknown
            ____________________________________________
            Priority Creditor’s Name                                    When was the debt incurred?          ____________
             Department of Treasury
            ____________________________________________
            Number           Street                                     As of the date you file, the claim is: Check all that apply.
             PO Box 30168
            ____________________________________________                
                                                                        
                                                                            Contingent
             Lansing                 MI     48909
                                                                        
            ____________________________________________                    Unliquidated
            City                                State    ZIP Code       ✔   Disputed

           
            Who incurred the debt? Check one.

           
           ✔       Debtor 1 only                                        Type of PRIORITY unsecured claim:
                                                                        
           
                   Debtor 2 only                                            Domestic support obligations
                                                                        
           
                   Debtor 1 and Debtor 2 only                           ✔   Taxes and certain other debts you owe the government
                   At least one of the debtors and another
                                                                        
           
                                                                            Claims for death or personal injury while you were
                                                                            intoxicated
                                                                        
                   Check if this claim is for a community debt
                                                                            Other. Specify
           Is the claim subject to offset?
           
           
           ✔       No
                   Yes

 Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1 of ___
                                                                                                                                                                       6
 Debtor 1
                                  Case:18-03453-swd
                       James L Nuyen
                      _______________________________________________________
                                                                                Doc #:1 Filed: 08/11/18     Page 27 of 58
                                                                                                   Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          Allegan U-Stor II                                                                                                                                         Total claim
4.1
                                                                                          Last 4 digits of account number
         _____________________________________________________________                                                                                              Unknown
                                                                                                                                                                  $__________________
         Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
          690 Airway Drive
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Allegan                             MI       49010                               
                                                                                          
         _____________________________________________________________                        Contingent
         City                                             State          ZIP Code

                                                                                          
                                                                                              Unliquidated

         
         Who incurred the debt? Check one.                                                    Disputed

         
         ✔      Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
                                                                                         
                Debtor 2 only

                                                                                          
                                                                                              Student loans
         
                Debtor 1 and Debtor 2 only
                At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce

                                                                                         
                                                                                              that you did not report as priority claims


                                                                                          
                Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                          ✔   Other. Specify
         Is the claim subject to offset?
         
         
         ✔      No
                Yes
4.2
         Cbna                                                                             Last 4 digits of account number       2480                               10,422.00
                                                                                                                                                                  $__________________
         _____________________________________________________________                    When was the debt incurred?           ____________
                                                                                                                                2016
         Nonpriority Creditor’s Name
         Po Box 6497
         _____________________________________________________________
         Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
         _______________________________________________________________________

                                                                                          
                                                                                              Contingent
          Sioux Falls                                     SD
                                                      57117
         _____________________________________________________________

                                                                                          
                                                                                              Unliquidated
         City                                             State          ZIP Code

         
         Who incurred the debt? Check one.                                                    Disputed

         
                Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
                                                                                          
         
                Debtor 2 only

                                                                                          
                                                                                              Student loans

         
                Debtor 1 and Debtor 2 only
                                                                                              Obligations arising out of a separation agreement or divorce
                At least one of the debtors and another
                                                                                          
                                                                                              that you did not report as priority claims

         
                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
                Check if this claim is for a community debt
                                                                                          ✔   Other. Specify
         Is the claim subject to offset?
         
         
         ✔      No
                Yes
          Home Depot Credit Services
4.3
                                                                                          Last 4 digits of account number       4114
         _____________________________________________________________                                                                                             10,422.93
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           2017
                                                                                                                                ____________
         PO Box 790328
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Saint Louis                         MO       63179                               
                                                                                          
         _____________________________________________________________                        Contingent
         City                                             State          ZIP Code

                                                                                          
         Who incurred the debt? Check one.                                                    Unliquidated

                                                                                             Disputed

         
         ✔      Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
                                                                                         
                Debtor 2 only


                                                                                          
                                                                                              Student loans
         
                Debtor 1 and Debtor 2 only
                At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce

                                                                                         
                                                                                              that you did not report as priority claims
                Check if this claim is for a community debt
                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
                                                                                          ✔   Other. Specify Credit Card Debt
         Is the claim subject to offset?
         
         
         ✔ No

                Yes


      Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __
                                                                                                                                                                              2 of ___
                                                                                                                                                                                   6
 Debtor 1
                                 Case:18-03453-swd
                      James L Nuyen
                     _______________________________________________________
                                                                                Doc #:1 Filed: 08/11/18     Page 28 of 58
                                                                                                   Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims



       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.4     PNC Bank
       _____________________________________________________________                      Last 4 digits of account number       1053
       Nonpriority Creditor’s Name                                                                                                                                  2,300.00
                                                                                                                                                                  $__________________
        PO Box 856177                                                                     When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
        Louisville                                       KY
       _____________________________________________________________
                                                                        40285-6177

                                                                                          
       City                                              State          ZIP Code              Contingent


                                                                                          
                                                                                              Unliquidated
       Who incurred the debt? Check one.
       
                                                                                              Disputed

       
       ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
                                                                                          
       
               Debtor 2 only

                                                                                          
                                                                                              Student loans

       
               Debtor 1 and Debtor 2 only
                                                                                              Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another
                                                                                          
                                                                                              that you did not report as priority claims

       
                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
               Check if this claim is for a community debt
                                                                                          ✔   Other. Specify Assisted Residential Services credit card
       Is the claim subject to offset?
       
       
       ✔       No
               Yes
4.5     PNC Bank NA                                                                       Last 4 digits of account number       607664518                          8,000.00
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        Commercial Loan Operations
       _____________________________________________________________
       Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
       PO Box 340777
       _______________________________________________________________________


                                                                                          
       Pittsburgh                          PA       15230-7777                                Contingent
       _____________________________________________________________

                                                                                          
       City                                              State           ZIP Code             Unliquidated

       
       Who incurred the debt? Check one.                                                      Disputed

       
               Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:

                                                                                         
               Debtor 2 only

                                                                                          
                                                                                              Student loans

       
               Debtor 1 and Debtor 2 only
                                                                                              Obligations arising out of a separation agreement or divorce
       ✔       At least one of the debtors and another

                                                                                          
                                                                                              that you did not report as priority claims
       
                                                                                          
               Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          ✔   Other. Specify Monies Loaned / Advanced
       Is the claim subject to offset?
       
       
       ✔       No
               Yes
4.6     PNC Bank NA                                                                       Last 4 digits of account number
        _____________________________________________________________                                                                                              100,000.00
                                                                                                                                                                  $_________________
        Nonpriority Creditor’s Name                                                       When was the debt incurred?           ____________
        Commercial Loan Operations
        _____________________________________________________________
        Number             Street
        PO Box 747046                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Pittsburgh                          PA       15274-7046                           
                                                                                          
        _____________________________________________________________                         Contingent
        City                                             State           ZIP Code

                                                                                          
        Who incurred the debt? Check one.                                                     Unliquidated

                                                                                             Disputed

       
       ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
       
               Debtor 2 only
                                                                                          
       
               Debtor 1 and Debtor 2 only
                                                                                          
                                                                                              Student loans
               At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce

                                                                                         
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt
                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    ✔   Other. Specify
       
       
       ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              3 of ___
                                                                                                                                                                                   6
 Debtor 1
                                 Case:18-03453-swd
                      James L Nuyen
                     _______________________________________________________
                                                                                Doc #:1 Filed: 08/11/18     Page 29 of 58
                                                                                                   Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims



       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.7     PNC Bank NA
       _____________________________________________________________                      Last 4 digits of account number       7276
       Nonpriority Creditor’s Name                                                                                                                                  10,000.00
                                                                                                                                                                  $__________________
        Commercial Loan Operations                                                        When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street
        PO Box 747046
       _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
        Pittsburgh                                       PA
       _____________________________________________________________
                                                                        15274-7046

                                                                                          
       City                                              State          ZIP Code              Contingent


                                                                                          
                                                                                              Unliquidated
       Who incurred the debt? Check one.
       
                                                                                              Disputed

       
       ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
                                                                                          
       
               Debtor 2 only

                                                                                          
                                                                                              Student loans

       
               Debtor 1 and Debtor 2 only
                                                                                              Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another
                                                                                          
                                                                                              that you did not report as priority claims

       
                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
               Check if this claim is for a community debt
                                                                                          ✔   Other. Specify Assisted Residential Services LLC line of credit
       Is the claim subject to offset?
       
       
       ✔       No
               Yes
4.8     Syncb/Mc                                                                          Last 4 digits of account number       0949                               7,568.00
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
                                                                                                                                2013
       Nonpriority Creditor’s Name
        Po Box 965005
       _____________________________________________________________
       Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
       _______________________________________________________________________


                                                                                          
       Orlando                             FL       32896                                     Contingent
       _____________________________________________________________

                                                                                          
       City                                              State           ZIP Code             Unliquidated

       
       Who incurred the debt? Check one.                                                      Disputed

       
               Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:

                                                                                         
               Debtor 2 only

                                                                                          
                                                                                              Student loans

       
               Debtor 1 and Debtor 2 only
                                                                                              Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another

                                                                                          
                                                                                              that you did not report as priority claims
       
                                                                                          
               Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                          ✔   Other. Specify
       Is the claim subject to offset?
       
       
       ✔       No
               Yes
4.9     Synchrony Bank                                                                    Last 4 digits of account number       7619
        _____________________________________________________________                                                                                              6,000.00
                                                                                                                                                                  $_________________
        Nonpriority Creditor’s Name                                                       When was the debt incurred?           2017
                                                                                                                                ____________
        Attn: Bankruptcy Dept
        _____________________________________________________________
        Number             Street
        PO Box 965016                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Orlando                             FL       32896-5016                           
                                                                                          
        _____________________________________________________________                         Contingent
        City                                             State           ZIP Code

                                                                                          
        Who incurred the debt? Check one.                                                     Unliquidated

                                                                                             Disputed

       
       ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
       
               Debtor 2 only
                                                                                          
       
               Debtor 1 and Debtor 2 only
                                                                                          
                                                                                              Student loans
               At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce

                                                                                         
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt
                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    ✔   Other. Specify Credit Card Debt
       
       
       ✔       No
               Yes


   Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                              4 of ___
                                                                                                                                                                                   6
Debtor 1
                               Case:18-03453-swd
                    James L Nuyen
                   _______________________________________________________
                                                                              Doc #:1 Filed: 08/11/18     Page 30 of 58
                                                                                                 Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.10 Village East Mobile Home Park                                                                                            1249 Elane Lot #6
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 1,920.00
                                                                                                                                                                $__________________
       1238 Starlite Dr.                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.

                                                                                        
       Allegan                                         MI
      _____________________________________________________________
                                                                      49010

                                                                                        
      City                                             State          ZIP Code              Contingent


                                                                                        
                                                                                            Unliquidated
      Who incurred the debt? Check one.
      
                                                                                            Disputed

      
      ✔      Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
                                                                                        
      
             Debtor 2 only

                                                                                        
                                                                                            Student loans

      
             Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another
                                                                                        
                                                                                            that you did not report as priority claims

      
                                                                                        
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
             Check if this claim is for a community debt
                                                                                        ✔   Other. Specify Unpaid lot rent on old lease
      Is the claim subject to offset?
      
      
      ✔      No
             Yes

                                                                                        Last 4 digits of account number                                         $__________________
      _____________________________________________________________                     When was the debt incurred?           ____________
      Nonpriority Creditor’s Name

      _____________________________________________________________
      Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.

                                                                                        
      _______________________________________________________________________


                                                                                        
                                                                                            Contingent
      _____________________________________________________________

                                                                                        
      City                                             State          ZIP Code              Unliquidated

      
      Who incurred the debt? Check one.                                                     Disputed

      
             Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:

                                                                                       
             Debtor 2 only

                                                                                        
                                                                                            Student loans

      
             Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another

                                                                                        
                                                                                            that you did not report as priority claims
      
                                                                                        
             Check if this claim is for a community debt                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                            Other. Specify
      Is the claim subject to offset?
      
      
             No
             Yes

                                                                                        Last 4 digits of account number
      _____________________________________________________________                                                                                             $_________________
      Nonpriority Creditor’s Name                                                       When was the debt incurred?           ____________

      _____________________________________________________________
      Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________

                                                                                        
                                                                                        
      _____________________________________________________________                         Contingent
      City                                             State           ZIP Code

                                                                                        
      Who incurred the debt? Check one.                                                     Unliquidated

                                                                                           Disputed

      
             Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
      
             Debtor 2 only
                                                                                        
      
             Debtor 1 and Debtor 2 only
                                                                                        
                                                                                            Student loans
             At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce

                                                                                       
                                                                                            that you did not report as priority claims
             Check if this claim is for a community debt
                                                                                        
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                       Other. Specify
      
      
             No
             Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                          page __
                                                                                                                                                                            5 of ___
                                                                                                                                                                                 6
Debtor 1
                          Case:18-03453-swd
               James L Nuyen                                      Doc #:1 Filed: 08/11/18
               _______________________________________________________
                                                                                              Page 31 of 58
                                                                                     Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :   Add t he Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                        Total claim


                6a. Domestic support obligations                                6a.                         0.00
Total claims                                                                            $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                  6b.                 350,000.00
                                                                                        $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                 6c.                         0.00
                                                                                        $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                     6d.
                                                                                      + $_________________________
                                                                                                            0.00


                6e. Total. Add lines 6a through 6d.                             6e.
                                                                                                    350,000.00
                                                                                        $_________________________



                                                                                        Total claim

                6f. Student loans                                               6f.                          0.00
Total claims                                                                             $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                      6g.
                                                                                                             0.00
                                                                                         $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                               6h.                          0.00
                                                                                        $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                     6i.   + $_________________________
                                                                                                    156,632.93


                6j. Total. Add lines 6f through 6i.                             6j.
                                                                                                     156,632.93
                                                                                         $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                page __
                                                                                                                                            6 of ___
                                                                                                                                                  6
                                    Case:18-03453-swd             Doc #:1 Filed: 08/11/18                     Page 32 of 58

 Fill in this information to identify your case:

                       James L Nuyen
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        Western District of Michigan District of ________
                                                                                 (State)

                                                                                                                                         Check if this is an
 Case number           ___________________________________________
  (If known)
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      ✔    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                 State what the contract or lease is for


2.1                                                                                         Mobile home lot rent
       Meadow Lane Village
      _____________________________________________________________________
      Name                                                                                  Lessee
       520 13th St.
      _____________________________________________________________________
      Street
       Three Rivers                MI                 49093
      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
                                        Case:18-03453-swd                       Doc #:1 Filed: 08/11/18           Page 33 of 58
 Fill in this information to identify your case:

                     James L Nuyen
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                 Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:_______________________
                                         Western District of Michigan District of ________
                                                                                              (State)


                                                                                                                                                 Check if this is an
 Case number            ____________________________________________
  (If known)

                                                                                                                                                   amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                             12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      
      ✔    No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           
           
                   No
                   Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                       ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                Column 2: The creditor to whom you owe the debt

                                                                                                              Check all schedules that apply:


                                                                                                              
3.1
         ________________________________________________________________________________                         Schedule D, line ______
                                                                                                              
         Name
                                                                                                                  Schedule E/F, line ______
                                                                                                              
         ________________________________________________________________________________
          Street                                                                                                  Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code


                                                                                                              
3.2
         ________________________________________________________________________________                         Schedule D, line ______
                                                                                                              
         Name
                                                                                                                  Schedule E/F, line ______
                                                                                                              
         ________________________________________________________________________________
          Street                                                                                                  Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code


                                                                                                              
3.3
         ________________________________________________________________________________                         Schedule D, line ______
                                                                                                              
         Name
                                                                                                                  Schedule E/F, line ______
                                                                                                              
         ________________________________________________________________________________
          Street                                                                                                  Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                            page 1 of ___
                                                                                                                                                                1
                                  Case:18-03453-swd                Doc #:1 Filed: 08/11/18                   Page 34 of 58

 Fill in this information to identify your case:

                      James L Nuyen
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: ______________________      District
                                          Western District of Michigan
                                                                                     tate)
 Case number         ___________________________________________                                         Check if this is:
                                                                                                          An amended filing
  (If known)


                                                                                                          A supplement showing postpetition chapter 13
                                                                                                            income as of the following date:
                                                                                                            ________________
Official Form 106I                                                                                          MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                            Debtor 1                                      Debtor 2 or non-filing spouse

    If you have more than one job,
                                                                                                                         
    attach a separate page with                                          ✔ Employed
                                                                          Not employed                                   
    information about additional         Employment status                                                                    Employed
    employers.                                                                                                                Not employed
    Include part-time, seasonal, or
    self-employed work.                                                   Assembler
                                         Occupation                     __________________________________            __________________________________
    Occupation may include student
    or homemaker, if it applies.                                          Interkal
                                         Employer’s name               __________________________________              __________________________________


                                         Employer’s address               3981 E Cork St
                                                                       _______________________________________       ________________________________________
                                                                        Number Street                                 Number    Street

                                                                       _______________________________________       ________________________________________

                                                                       _______________________________________       ________________________________________

                                                                          Kalamazoo, MI 49008
                                                                       _______________________________________       ________________________________________
                                                                        City            State  ZIP Code                City                State ZIP Code

                                          How long employed there?________________________
                                                                   27 years                                            ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                       non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.             2.       3,981.47
                                                                                                   $___________           $____________

 3. Estimate and list monthly overtime pay.                                                  3.   + $___________
                                                                                                            0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                             4.       3,981.47
                                                                                                   $__________            $____________




Official Form 106I                                                 Schedule I: Your Income                                                        page 1
                 James        Case:18-03453-swd Doc #:1
                         L Nuyen                                                                       Filed: 08/11/18              Page 35 of 58
Debtor 1         _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.        3,981.47
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.          801.71
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.          597.22
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.          601.68
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +   $_____________
    _____________________________________________________________
                                                                                                                                 0.00
                                                                                                                         $____________            $____________
    _____________________________________________________________                                                               0.00
                                                                                                                         $____________            $____________
    _____________________________________________________________                                                               0.00
                                                                                                                         $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        2,000.61
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        1,980.85
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                  500.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________
                                         Monthly gift for car payment                                            8h.    + $____________
                                                                                                                               600.00         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.        1,100.00
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            3,080.85
                                                                                                                         $___________     +       $_____________      =      3,080.85
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             3,080.85
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income

      
13. Do you expect an increase or decrease within the year after you file this form?
      ✔
      
           No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
                                   Case:18-03453-swd                   Doc #:1 Filed: 08/11/18                       Page 36 of 58

  Fill in this information to identify your case:

                     James L Nuyen
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
                                                                                                               An amended filing
                                                                                                               A supplement showing postpetition chapter 13
  (Spouse, if filing) First Name              Middle Name                 Last Name

                                          Western District of Michigan
  United States Bankruptcy Court for the: ______________________       District of __________
                                                                                      (State)
                                                                                                                  expenses as of the following date:
                                                                                                                  ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   ✔ No. Go to line 2.
    Yes. Does Debtor 2 live in a separate household?
               
               
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                   No
                                            
                                                                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 ✔ Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?

                                                                                                                                                   No
   Debtor 2.                                    each dependent..........................

                                                                                                                                                  
   Do not state the dependents’                                                             Grandchild
                                                                                           _________________________                 7
                                                                                                                                    ________
   names.                                                                                                                                         ✔ Yes
                                                                                                                                                   No
                                                                                                                                                  
                                                                                            Grandchild
                                                                                           _________________________                 3
                                                                                                                                    ________
                                                                                                                                                  ✔ Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                           _________________________                ________

                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                           _________________________                ________

                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                           _________________________                ________


3. Do your expenses include
                                            
                                            
                                                No
   expenses of people other than
   yourself and your dependents?                Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                    325.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                       100.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                         0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                     50.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
                                  Case:18-03453-swd                  Doc #:1 Filed: 08/11/18           Page 37 of 58

                    James L Nuyen
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     200.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                      40.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     100.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                     600.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                      70.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                      45.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                     315.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                     280.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                     100.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.   $_____________________
                                                                                                                                      66.00
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                     300.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                     524.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.   $_____________________
                                                                                                                                        0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
                                Case:18-03453-swd                  Doc #:1 Filed: 08/11/18                 Page 38 of 58

                   James L Nuyen
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 3,115.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 3,115.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       3,080.85
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 3,115.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                     -34.15
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
                                            Case:18-03453-swd          Doc #:1 Filed: 08/11/18                         Page 39 of 58

Fill in this information to identify your case:

Debtor 1           James L Nuyen
                  __________________________________________________________________
                    First Name                   Middle Name          Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                   Middle Name          Last Name


                                        ______________________
United States Bankruptcy Court for the:Western District of Michigan District of __________
                                                                                  (State)
Case number         ___________________________________________

                                                                                                                                          Check if this is an
(If known)


                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

            No
       
       ✔

             Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                 Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ James L Nuyen
          ______________________________________________             _____________________________
         Signature of Debtor 1                                           Signature of Debtor 2


         Date _________________                                          Date _________________
                MM /    DD       /   YYYY                                         MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules
                                  Case:18-03453-swd                  Doc #:1 Filed: 08/11/18                  Page 40 of 58

 Fill in this information to identify your case:

 Debtor 1          James L Nuyen
                   __________________________________________________________________
                     First Name              Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: Western
                                         ______________________
                                                 District of Michigan District of ______________
                                                                               (State)


                                                                                                                                           Check if this is an
 Case number         ___________________________________________
  (If known)
                                                                                                                                             amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                            4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


       Married
      
      ✔ Not married



 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     
     ✔     No
           Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                           Dates Debtor 1        Debtor 2:                                             Dates Debtor 2
                                                                   lived there                                                                 lived there

                                                                                          Same as Debtor 1                                      Same as Debtor 1

               __________________________________________         From     ________         ___________________________________________           From ________
                Number    Street                                                            Number Street
                                                                  To       __________                                                             To      ________
               __________________________________________                                   ___________________________________________

               __________________________________________                                   ___________________________________________
               City                     State ZIP Code                                      City                     State ZIP Code


                                                                                          Same as Debtor 1                                      Same as Debtor 1


               __________________________________________         From     ________         ___________________________________________           From ________
                Number    Street                                                            Number Street
                                                                  To       ________                                                               To      ________
               __________________________________________                                   ___________________________________________

               __________________________________________                                   ___________________________________________
               City                     State ZIP Code                                      City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No
     
     ✔

           Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 1
                                 Case:18-03453-swd                          Doc #:1 Filed: 08/11/18                    Page 41 of 58

Debtor 1        James L Nuyen
                _______________________________________________________                                      Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     
     
           No
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income           Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                                             $________________                                    $________________
                                                                                                                     
                                                                    bonuses, tips             35,500.00                   bonuses, tips
            the date you filed for bankruptcy:
                                                                    Operating a business                                  Operating a business


            For last calendar year:
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,

                                                                                                                     
                                                                    bonuses, tips            $________________
                                                                                              162,000.00                  bonuses, tips           $________________
            (January 1 to December 31, _________)
                                       2017                         Operating a business                                  Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                  Wages, commissions,

                                                                                                                     
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              187,215.00                                          $________________
            (January 1 to December 31, _________)
                                       2016                         Operating a business                                  Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     
           No
     ✔     Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income          Gross income from
                                                     Describe below.               each source                         Describe below.            each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________
                                        Rent                                       $________________
                                                                                    4,000.00                  _________________________          $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________          $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________          $_________________


                                         _________________________ $________________
                                                                    0.00                                       _________________________         $________________
For last calendar year:
                                         _________________________ $________________                           _________________________         $________________
(January 1 to
             2017                        _________________________ $_________________                          _________________________         $_________________
December 31, _________)


For the calendar year                    _________________________ $________________
                                                                    0.00                                       _________________________         $________________
before that:                             _________________________ $________________                           _________________________         $________________
(January 1 to                            _________________________ $_________________                          _________________________         $_________________
             2016
December 31, _________)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
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Debtor 1       James L Nuyen
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     
     ✔     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________
                                                                                                                                         Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________                                                           Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________                                                           Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
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Debtor 1            James L Nuyen
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     
     ✔     No
           Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     
     ✔     No
           Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
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Debtor 1          James   L Nuyen
                  _______________________________________________________                                        Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     
     ✔     No
           Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case


                                                                                                                                                          
    Case title:
                                                                                                          ________________________________________            Pending

                                                                                                                                                          
                                                                                                          Court Name
                                                                                                                                                              On appeal

                                                                                                                                                          
                                                                                                          ________________________________________
                                                                                                          Number    Street                                    Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________


                                                                                                          ________________________________________           Pending

                                                                                                                                                          
                                                                                                          Court Name
    Case title:
                                                                                                                                                              On appeal

                                                                                                                                                          
                                                                                                          ________________________________________
                                                                                                          Number    Street                                    Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     
     ✔     No. Go to line 11.
           Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                                                                                
                   _________________________________________
                                                                                     Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                                                                                
                   City                               State   ZIP Code
                                                                                     Property was attached, seized, or levied.



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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Debtor 1          James L Nuyen
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     
     ✔     No
           Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     
     ✔     No
           Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     
     ✔     No
           Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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Debtor 1            James L Nuyen
                    _______________________________________________________                                     Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     
     ✔     No
           Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔
     
           No
           Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     
     
           No
     ✔     Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             White Law Firm PLC
             Person Who Was Paid

             ___________________________________
             833 Kenmoor Ave. S.E., Ste. E
             Number       Street                                                                                                         _________ 08/10/2018
                                                                                                                                         10/17/2017,     $_____________
                                                                                                                                                           3,000.00

             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             Grand Rapids        MI      49546
             City                       State    ZIP Code


             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
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Debtor 1           James L Nuyen
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     
     ✔     No
           Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     
           No
     ✔     Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Former Co-Worker
                                                                   2003 Mercury Marquis, $500.00
            Person Who Received Transfer
                                                                                                             500.00

            ___________________________________                                                                                                              _________
                                                                                                                                                             04/01/2018
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you Former
                                         _____________
                                                co-worker

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
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Debtor 1           James L Nuyen
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     
     ✔     No
           Yes. Fill in the details.

                                                                   Description and value of the property transferred                                        Date transfer
                                                                                                                                                            was made


                                                                                                                                                            _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     
           No
     ✔     Yes. Fill in the details.

                                                                   Last 4 digits of account number       Type of account or       Date account was       Last balance before
                                                                                                         instrument               closed, sold, moved,   closing or transfer
                                                                                                                                  or transferred
            PNC Bank (ARS business checking)
            ____________________________________
                                                                                                         
            Name of Financial Institution                                                                ✔
                                                                             2 ___
                                                                       XXXX–___ 7 ___
                                                                                   0 ___
                                                                                      4                    Checking               01/01/2018
                                                                                                                                  _________               0.00
                                                                                                                                                         $___________
                                                                                                          Savings
            PO Box 609
            ____________________________________

                                                                                                          Money market
            Number       Street



                                                                                                          Brokerage
            ____________________________________


                                                                                                          Other__________
            Pittsburgh                 PA       15230-9738
            ____________________________________
            City                       State    ZIP Code



           PNC Bank (ARS general account)
           ____________________________________                              2 ___
                                                                       XXXX–___ 7 ___
                                                                                   1 ___
                                                                                      2                  
                                                                                                         ✔
                                                                                                           Checking               01/01/2018
                                                                                                                                  _________               0.00
                                                                                                                                                         $___________
                                                                                                          Savings
            Name of Financial Institution


                                                                                                          Money market
           PO Box 609
           ____________________________________

                                                                                                          Brokerage
            Number       Street

            ____________________________________

           Pittsburgh           PA     15230-9738
            ____________________________________                                                          Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for


     
     securities, cash, or other valuables?


     
        No
     ✔     Yes. Fill in the details.
                                                                       Who else had access to it?                   Describe the contents                        Do you still
                                                                                                                                                                 have it?

                                                                                                                                                                 
                                                                                                                  Passport, car titles, important documents.,

                                                                                                                                                                 
                                                                                                                  $0.00                                              No
            Fifth Third Bank
            ____________________________________                   Kelly Rodriguez
                                                                  _______________________________________                                                        ✔   Yes
            Name of Financial Institution                         Name

            216 N. Main St.
            ____________________________________                   1508 River Bend Dr Lot 127
                                                                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________                   Allegan                   MI       49010
                                                                  _______________________________________
           Three Rivers        MI     49093                       City          State      ZIP Code
           ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 9
                                    Case:18-03453-swd                            Doc #:1 Filed: 08/11/18                           Page 49 of 58

Debtor 1            James L Nuyen
                    _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




    
22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?


    
    ✔      No
           Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?

                                                                                                                                                                            No
                                                                                                                                                                            Yes
             ___________________________________                     _______________________________________
             Name of Storage Facility                                Name

             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,


     
     or hold in trust for someone.


     
     ✔   No
           Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     
     ✔     No
           Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
                                   Case:18-03453-swd                           Doc #:1 Filed: 08/11/18                             Page 50 of 58

Debtor 1           James L Nuyen
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     
     ✔     No
           Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     
     ✔     No
           Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case


                                                                                                                                                                          
           Case title
                                                                    ________________________________                                                                          Pending

                                                                                                                                                                          
                                                                    Court Name
                                                                                                                                                                              On appeal

                                                                                                                                                                          
                                                                    ________________________________
                                                                    Number     Street                                                                                         Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss


           
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?


           
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time


           
           ✔    A member of a limited liability company (LLC) or limited liability partnership (LLP)


           
                A partner in a partnership
                An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     
           No. None of the above applies. Go to Part 12.
     ✔     Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            Assisted Residential Services LLC
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name                                          Elder care

            845 Stern St
            ____________________________________                                                                                       EIN: ___
                                                                                                                                             6 ___
                                                                                                                                                 5 – ___
                                                                                                                                                     1 ___
                                                                                                                                                         2 ___
                                                                                                                                                           6 ___
                                                                                                                                                               2 ___
                                                                                                                                                                  7 ___
                                                                                                                                                                     3 ___
                                                                                                                                                                        1
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
            Allegan             MI     49010                       Angle & Associates CPA PC                                           From     _______             To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
                                   Case:18-03453-swd                         Doc #:1 Filed: 08/11/18                    Page 51 of 58

Debtor 1           James  L Nuyen
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________                                                                            From     _______         To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     
     ✔     No
           Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ James L Nuyen
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________                                                    Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      
      ✔      No
             Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
           No
      
      ✔

            Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
                                      Case:18-03453-swd                Doc #:1 Filed: 08/11/18                      Page 52 of 58

Fill in this information to identify your case:

                  James L Nuyen
Debtor 1          __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name




                                                                                                                                               Check if this is an
                                        ______________________
United States Bankruptcy Court for the:Western District of Michigan District of __________
                                                                                   (State)
Case number         ___________________________________________
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                          
                                                                                                                                          ✔ No

                                                                                        Retain the property and redeem it.                Yes
          name:           Ally Financial

                                                                                       
         Description of          2010 Ford Lgt Convtnl F pick up                       ✔ Retain the property and enter into a
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________


         Creditor’s                                                                     Surrender the property.                           No
                                                                                        Retain the property and redeem it.
                           Nationstar/Mr Cooper
                                                                                                                                          
         name:
                                                                                                                                          ✔ Yes

                                                                                       
         Description of          432 Sixth Ave
                                                                                       ✔ Retain the property and enter into a
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
                                                                                        Retain the property and redeem it.                Yes
         name:

                                                                                        Retain the property and enter into a
         Description of
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
                                                                                        Retain the property and redeem it.                Yes
         name:

         Description of
         property                                                                       Retain the property and enter into a

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________


  Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
                                     Case:18-03453-swd           Doc #:1 Filed: 08/11/18              Page 53 of 58
                     James L Nuyen
Debtor              ______________________________________________________                   Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ James L Nuyen
         ___________________________________________             ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2


     Date _________________                                        Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                          page 2
                                  Case:18-03453-swd                    Doc #:1 Filed: 08/11/18                     Page 54 of 58
 Fill in this information to identify your case:                                                            Check one box only as directed in this form and in
                                                                                                            Form 122A-1Supp:
                    James L Nuyen
                                                                                                            
 Debtor 1          __________________________________________________________________
                     First Name               Middle Name                  Last Name
                                                                                                            ■   1. There is no presumption of abuse.
                                                                                                            
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name                  Last Name                            2. The calculation to determine if a presumption of
                                                                                                                   abuse applies will be made under Chapter 7
                                         __________
 United States Bankruptcy Court for the: Western District District
                                                          of Michigan
                                                                   of __________                                   Means Test Calculation (Official Form 122A–2).
 Case number         ___________________________________________                                               3. The Means Test does not apply now because of
 (If known)                                                                                                        qualified military service but it could apply later.


                                                                                                             Check if this is an amended filing

Official Form 122A─1
Cha pt e r 7 St a t e m e nt of Y our Curre nt M ont hly I nc om e                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Pa rt 1 :       Ca lc ula t e Y our Curre nt M ont hly I nc om e



      
 1. What is your marital and filing status? Check one only.
      ✔ Not married. Fill out Column A, lines 2-11.
      Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

       Married and your spouse is NOT filing with you. You and your spouse are:
         Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
         Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A             Column B
                                                                                                            Debtor 1             Debtor 2 or
                                                                                                                                 non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                         $_________            $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                                   $_________            $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.                                                 $_________            $__________

 5. Net income from operating a business, profession,
                                                                       Debtor 1        Debtor 2
    or farm
    Gross receipts (before all deductions)                                 $______         $______
      Ordinary and necessary operating expenses                        –   $______     –   $______

                                                                                           $______ here
                                                                                                     Copy
      Net monthly income from a business, profession, or farm              $______                           $_________            $__________

 6. Net income from rental and other real property                     Debtor 1        Debtor 2
    Gross receipts (before all deductions)                                 $______         $______
      Ordinary and necessary operating expenses                        –   $______     –   $______

                                                                                           $______ here
                                                                                                     Copy
      Net monthly income from rental or other real property                $______                           $_________            $__________
 7. Interest, dividends, and royalties                                                                       $_________            $__________



Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income
                                        Case:18-03453-swd                               Doc #:1 Filed: 08/11/18                           Page 55 of 58

Debtor 1           James   L Nuyen
                   _______________________________________________________                                                   Case number (if known)_____________________________________
                   First Name          Middle Name                Last Name



                                                                                                                                Column A                    Column B
                                                                                                                                Debtor 1                    Debtor 2 or
                                                                                                                                                            non-filing spouse

    8. Unemployment compensation                                                                                                  $__________                  $___________

       under the Social Security Act. Instead, list it here: ............................... 
       Do not enter the amount if you contend that the amount received was a benefit


           For you .................................................................................. $______________
           For your spouse................................................................... $______________

    9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act.                                                                                     $__________                 $___________
    10. Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act or payments received
        as a victim of a war crime, a crime against humanity, or international or domestic
        terrorism. If necessary, list other sources on a separate page and put the total below.

         ______________________________________                                                                                   $_________                  $___________
         ______________________________________                                                                                   $_________                  $___________
         Total amounts from separate pages, if any.                                                                            + $_________                + $___________
    11. Calculate your total current monthly income. Add lines 2 through 10 for each
        column. Then add the total for Column A to the total for Column B.                                                        $_________
                                                                                                                                                       +      $___________
                                                                                                                                                                                  =   $__________
                                                                                                                                                                                      Total current
                                                                                                                                                                                      monthly income

    Pa rt 2 :     De t e rm ine Whe t he r t he M e a ns T e st Applie s t o Y ou

    12. Calculate your current monthly income for the year. Follow these steps:
       12a.     Copy your total current monthly income from line 11. .................................................................................. Copy line 11 here        $__________

                Multiply by 12 (the number of months in a year).                                                                                                                  x 12
       12b.     The result is your annual income for this part of the form.                                                                                                12b.   $__________

    13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household. ............................................................................................. 13.   $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.
    14. How do the lines compare?

       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.

       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.

    Pa rt 3 :      Sign Be low




                  /s/ James L Nuyen                                                                                     ______________________________________
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                        __________________________________________________________
                       Signature of Debtor 1                                                                              Signature of Debtor 2

                       Date _________________                                                                             Date _________________
                            MM / DD / YYYY                                                                                     MM / DD / YYYY

                       If you checked line 14a, do NOT fill out or file Form 122A–2.
                       If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯

Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income
                                     Case:18-03453-swd                Doc #:1 Filed: 08/11/18                 Page 56 of 58
    Fill in this information to identify your case:


    Debtor 1           James L Nuyen
                      __________________________________________________________________
                        First Name              Middle Name              Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name              Middle Name              Last Name


    United States Bankruptcy Court for the: Western
                                            ______________________
                                                    District of Michigan District of __________

    Case number         ___________________________________________

                                                                                                            Check if this is an amended filing
    (If known)




 Official Form 122A─1Supp
St a t e m e nt of Ex e m pt ion from Pre sum pt ion of Abuse U nde r § 7 0 7 (b)(2 )                                                                         12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this
is required by 11 U.S.C. § 707(b)(2)(C).


Pa rt 1 :        I de nt ify t he K ind of De bt s Y ou H a ve

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave on line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

     
     ✔
          No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
              this supplement with the signed Form 122A-1.
         Yes. Go to Part 2.

Pa rt 2 :        De t e rm ine Whe t he r M ilit a ry Se rvic e Provisions Apply t o Y ou


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
    
     ✔ 
       No. Go to line 3.
    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                  10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                  
                  ✔ No. Go to line 3.

                   Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                        Then submit this supplement with the signed Form 122A-1.
3. Are you or have you been a Reservist or member of the National Guard?
     
     ✔      No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
          
          ✔      No. Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                    I was called to active duty after September 11, 2001, for at least           If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                           Form 22A-1. On the top of page 1 of Form 22A-1, check

                 
                                                                                                  box 3, The Means Test does not apply now, and sign
                     I was called to active duty after September 11, 2001, for at least
                                                                                                  Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                  Form 22A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                  Official Form 22A-1 during the exclusion period. The
                    I am performing a homeland defense activity for at least 90 days.            exclusion period means the time you are on active duty

                 
                                                                                                  or are performing a homeland defense activity, and for
                     I performed a homeland defense activity for at least 90 days,                540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days before
                                                                                                  If your exclusion period ends before your case is closed,
                     I file this bankruptcy case.
                                                                                                  you may have to file an amended form later.




Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                   page 1
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DETROIT, MI 48243                    PO BOX 30168
                                     LANSING, MI 48909
CBNA
PO BOX 6497                          SYNCB/MC
SIOUX FALLS, SD 57117                PO BOX 965005
                                     ORLANDO, FL 32896
HOME DEPOT CREDIT SERVICES
PO BOX 790328                        SYNCHRONY BANK
SAINT LOUIS, MO 63179                ATTN: BANKRUPTCY DEPT
                                     PO BOX 965016
INTERNAL REVENUE SERVICE             ORLANDO, FL 32896-5016
3251 NORTH EVERGREEN DRIVE NE
GRAND RAPIDS, MI 49525               US ATTORNEY OFFICE
                                     THE LAW BUILDING
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THREE RIVERS, MI 49093
                                     VILLAGE EAST MOBILE HOME PARK
NATIONSTAR/MR COOPER                 1238 STARLITE DR.
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                             United States Bankruptcy Court
                             Western District of Michigan




         James L Nuyen
In re:                                                        Case No.

                                                              Chapter    7
                    Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




                                                /s/ James L Nuyen
Date:
                                                Signature of Debtor



                                                Signature of Joint Debtor
